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 5   Attorneys for Plaintiff:
     BRYAN HUBBARD
 6
                          UNITED STATES DISTRICT COURT
 7
          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 8
 9   BRYAN HUBBARD, individually             Case No.: 2:23-cv-03541-PA (RAOx)
10   and on behalf of all others similarly
     situated,                               [Assigned for all purposes to
11                                           Honorable Percy Anderson – Crtm 9A]
12                              Plaintiff,
                                             DECLARATION OF CHARLES M.
13         v.                                RAY IN SUPPORT PLAINTIFFS’
14                                           NOTICE AND FILING OF OPT-IN
     COUNTY OF LOS ANGELES, a                PLAINTIFF CONSENT FORMS AS
15   public entity; ANTHONY C.               ORDERED PURSUANT TO DKT. NO.
16   MARRONE, Chief of Los Angeles           32.
     County Fire Department, and DOES 1
17   through 100, inclusive,
18                           Defendants.     Trial Date: June 11, 2024
                                             FSC: May 17, 2024
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                   DECLARATION OF ATTORNEY CHARLES M. RAY
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 1                       DECLARATION OF CHARLES M. RAY
 2   I, Charles M. Ray, do declare and state as follows:
 3   1.   I am a principal of Ray & Seyb LLP, counsel of record for Plaintiff BRYAN
 4        HUBBARD et al. I have personal knowledge of the matters stated herein and,
 5        if called upon as a witness, I could and would competently testify thereto.
 6   2.   I make this Declaration in support of PLAINTIFFS’ NOTICE AND FILING
 7        OF OPT-IN PLAINTIFF CONSENT FORMS AS ORDERED
 8        PURSUANT TO DKT. NO. 32.
 9   3.   In response to Dkt. Entry No. 32, Counsel for Plaintiffs contracted with
10        Simpluis, a comprehensive corporate, financial, and legal administration
11        servicer to dispatch and collect the notice and consent forms in the matter.
12   4.   After receiving confirmation from Counsel for Defendant on the notice and
13        consent forms themselves and the data necessary for dispatch, all
14        documentation was mailed out.
15   5.   The dispatch date was November 24, 2023, with a deadline (60 Days) of
16        January 23, 2024.
17   6.   On January 30, 2024, Simpluris sent the attached excel spreadsheet (Auto
18        sorted by Counsel for Plaintiffs) and opt-in forms via email to Counsel for
19        Plaintiffs.
20   7.   A true and correct copy of the Simpluris excel spreadsheet (Auto sorted by
21        Counsel for Plaintiffs) is attached hereto as Exhibit 1. A true and correct copy
22        of the opt-in forms collected by Simpluris is attached hereto in one file as
23        Exhibit 2.
24         I declare under penalty of perjury, that the foregoing is true and correct.
25   Executed this 30th day of January 2024 at Irvine, California.
26
                                              By:
27                                                  Charles M. Ray
                                                    Attorney for Plaintiffs
28                                                  Bryan Hubbard, et al. and Declarant

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                   DECLARATION OF ATTORNEY CHARLES M. RAY
